                      IN THE LINITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF IOWA



IN RE:                                                           Chapter 7 Bankruptcy
                                                                  Case No. 19-00965
WILLIAM LEO POWERS and
BONNIE LYNN POWERS                                        APPLICATION FOR APPROVAL OF
                Debtor(s).                                EMPLOYMENT OF ATTORNEY OR
                                                         ACCOUNTANT: RECOMMENDATION
                                                                   AND ORDER

     1.   Applicant is the trustee in this   case.


     2. Applicant believes that the employment of an Attorney is necessary to represent or

     assist in any legal matters as they pertain to the bankruptcy estate's claim to certain   will

     and probate proceeding and prosecute an undue influence or similar recovery and any

     other legal matters that may arise.

     3. Eric W. Lam and the flrrm of Simmons Perrine Moyer Bergman PLC are qualified by

     reason ofpractice and experience to render such representation or assistance.

     4. The fees for services rendered by Eric W. Lam and the firm of Simmons Perrine

     Moyer Bergman PLC in the performance of duties on behalf of the estate will be per the

     attached contingency agreement.

     5. The applicant has disclosed to the undersigned that they have the following

     connections with the debtor(s), creditors, or any other parlies-in-interest:

               None except Applicant's firm in other unrelated matters has been adverse
               to and/or represented Target, Synchrony Bank, H & R Accounts, Best Buy
               and Dupaco Credit Union, who are creditors and parties in interest in this
               case, but are not the primary targets of the Trusteeos pursuit. Applicant
               therefore believes he is qualified.




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          WHEREFORE, applicant prays that the Court approve the employment of Eric W. Lam,

and the   firm of Simmons Perrine Moyer Bergman PLC for the purposes described herein, subject

to the approval of any compensation and expenses by the court in accordance with 11 U.S.C.

$328(a).

          Dated:   r2l12l19                                       /s/ Sheryl L. Schnittjer
                                                                 SHERYL L. SCHNITTJER
                                                                 CHAPTER 7 TRUSTEE
                                                                 24695 207th Ave.
                                                                 Delhi,IA52223


                                 RULE   21 04(a)   VERIFICATION

          I, Eric W. Lam, of Simmons Perrine Moyer Bergman PLC, named in the foregoing

Report, declare under penalty of perjury that the foregoing is true and correct according to the

best of my knowledge and belief.

Dated:      l2l16119                                             lslEric W. Lam
                                                                 Eric W. Lam
                                                                 SIMMONS PERRINE MOYER
                                                                 BERGMAN PLC
                                                                 I 15 Third St. SE, Ste. 1200
                                                                 Cedar Rapids,   IA 52401


                                              THE

Based on the Application made by the trustee,      I recommend that the professional
employment applied for by the trustee be approved for the pu{pose indicated in the application.
           12/18/19                                     United States Trustee, Region 12
Dated:

                                                        By:     /s/ Janet G. Reasoner
                                                              rD #76s43




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                                              ORDER

       Upon the foregoing Application and Recommendation and for cause shown, and pursuant

to the provisions of Title 11, United States Code, $327, it is

       ORDERED, the professional employment applied for is hereby APPROVED subject to

the limitations provided for by Title 11, United States Code, $328.

Dated and Entered        December 18, 2019



                                              LINITED STATES BANKRUPTCY JUDGE




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                    ATTORNEY CONTINGENT FEE AGREBMENT
                                                                capagly as Trustee
       This agreement is between Sheryl Schnittjer, in her sole
                                                               in the United States
aO-i"i"toinitUt Cii"G 7 case of Inie Powrn,now pending(he19ingfter        referred to as
;r"k"t    .Vtoua foi ifie Northern Dis6ict of Iowa #19 965
                                                                     Iowa  (hereinafter
ClienQ and Simmont f.tti"t Moyer Bergman PLC,
                                                     Cedar Rapids,
referred to as AttorneYs).
                                                                andrepresent and
       WHEREAS, the client desires Attorneys assist and counsel                    and
pror.*i, urt #or her and ttre estaiet claim to certain will and probate proceeding
          *
'pirrr*ti an undue influence or similar theory of recovery.
                                                                           on a contingency fee
        IT IS UNDERSTOOD that Client agrees to ernp.loy Attorneys gross recovery
                                                   retain 4! Percent of the
agreement.o1rrpot d. us follows: Attorneys shall
collected after semement or trial before the Bankruptcy
                                                           court. Gross recovery is the entire
amount of money,    ;;6;"y,;     securities and interist collected for the undersigned Client'

                                                                                    is contingent
       IT IS FIJRTI{BR UNDERSTOOD that althoug}r the Attorneys' &9                         set forth
opon rrr, *.rrrn r,r"ou.ry of money, *d arn in
                                                         acJo-rdance with  the  schedule
                                                                                        successfully
above, ttre Client         to iay all_exlrenses regardle-ss of whether arry money.is
                   "g;;
recovered, but odfto ttt. e*tittt the expenses- ge allowed
                                                                by Qr{Rfroq qt United States
                                                             and only if there is fund in the Estate
it rkdr.y court N.D. Iowa after notice and hearing,
                  .d;;;
to pay ,o.U ,*pr*.t. E              ;e disbursemene fol those items or services which are
                                                 prosecution of the claim' Thev indude but are
necessary for the J;;.;tfr;1-piep-atogon and
          li-ilJ6td
notnecessarily                  fono*ittgr depositiontranscription costs' investigator fees,
                                                                                         fees'
cons'ltation*ith t*p;; i-.Ai.of ani otnirwise), filing fees' sewice'of-process
;;n*;;lsiea         reia research, ttlu-d             o'sidi the city of cedar Rapids, and
pir"i'"."pv rro. lrtfi. cG"t is
                        unable to  iitttrt advance such expenses or pay them upon
                                ',rpeilres
                                                                                     ftom anv
;;;;iffid;it"*irla      ttutement, Attorneys shall be reimbursed for such expenses
                                                forth above. In any event,-the  Bankruptcy
 suuui recovered anei-aeauction of the fees set
 Estate remains liable for all such expenses regardretl o[F outcome of the case, but only to
 the extent ttre expaur,  *   uuo*.d.'by order ftom the united states Bantcruptcy court
                                                               in the Estate to pay such
 N.D. Iowa ater ,rotice and hearing, and only if tlrere H 9"d
 e:cperuies. 1'he intenioi6it ptoultiboit to
                                              comply-with t1e Iowa Rules ofProfessional
                                                            of Professional Responsibility
 conduct as well ,, trru R*.ri"un Bar Associatiorrcanons
 and Judicial Ethics.
                                                                  client suctr legal services as
         Attorneys agrceto accept such employm-e"l and render
                    6;;"*t    o titUt-*i;ftft daim referred     to above, or in the event that
 shall be necessary
                                                               to devote their best effore to the
 such craim  cannot be settled o' u ,.*on.bly frit basis, then
 triJ of suctr actions as may be reasonably necessary.
                                                      its attorneys leserve ttre right to
         simmons Perrine Moyer Bergman PLC and
                                                              teasons:
 wittrdraw as aftomey at any iime foi any of the following

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        A. The Client's failwe to abide by this agtreement;
        B. The Client's involvement in conduct orbehavior that is illegal or would cause
the attorney to violate the disciplinary nrles or ethical principles of his or her profession;
        C. The development of an irreconcilable impasse or disagreement regarding the
proper sEategy or procedrue to employ in this litigation between the lawyer and
undersigned dient;
        D.    For any valid reason otherwise allowed or required by the applicable Iowa
Rules of Professional Conduct.

In suctr event, Simmons Perrine Moyer Bergman PLC shall grve the Clientnotice and a
reasonable oppornrnity to secue other counsel before said attomey's withdrawal. If
representation is terminated by Client or by the Attorneys for any reason, the Attorneys
shallbe entitled to be compensated for the reasonable value of service provided to date, but
only in the event the Client is ultimately successful on the claim, and only pursuant and
subject to notice and hearing and eventual approval by the United States Bankruptcy Court
N.D.Iowa.

       The rrndersigned may discharge Simmons Penine Moyer Bergman PLC or its
attomey at any time prior to trial, but shall be obligated to pay the reasonable value of
Attorniys' services to ttre date of discharge, which shall take into account the value of
settlement offers or trial result received, f *y, and only pursuant and subject to notice and
hearing and evenhral approvalby the United States Bankruptcy Court N.D. Iowa.

        Dated as of the t2h day of December 20L9.




                                                             Sheryl         , in her
                                                             Capacity as Chapter 7

                                                             SnnIONIS PSRRN.TE MOYNN BNRG&IAN PLC




                                                             Bv:      /s/ E T.am
                                                             Eric'W. Lam
BWL.pead.SSTE.Poweo.contingenfee.   I2I2   19.0943'ewl




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